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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

  In re:                                          §
                                                  §
  CHUB CAY LLC                                    §     CASE NO. 22-50615-MMP
                                                  §                   (Chapter 11)
                                                  §
  Debtor                                          §


                CHUB CAY LLC'S DISCLOSURE STATEMENT DATED 9/6/2022

  I.       INTRODUCTION

          This is the disclosure statement (the "Disclosure Statement") in the chapter 11 case of
  Chub Cay LLC (the "Debtor"). This Disclosure Statement contains information about the Debtor
  and describes the Plan of Reorganization (the "Plan") filed by the Debtor on September 6, 2022.
  A full copy of the Plan is attached to this Disclosure Statement as Exhibit A. Your rights may be
  affected. You should read the Plan and this Disclosure Statement carefully and discuss them
  with your attorney. If you do not have an attorney, you may wish to consult one.

          The proposed distributions under the Plan to the creditors are discussed at pages 6 - 7 of
  this Disclosure Statement. Debtor does not have any unsecured creditors.

           A.     Purpose of This Document

           This Disclosure Statement describes:

  ⚫        The Debtor and significant events during the bankruptcy case,
  ⚫        How the Plan proposes to treat claims or equity interests of the type you hold (i.e., what
           you will receive on your claim or equity interest if the plan is confirmed),
  ⚫        Who can vote on or object to the Plan,
  ⚫        What factors the Bankruptcy Court (the "Court") will consider when deciding whether to
           confirm the Plan,
  ⚫        Why the Debtor believes the Plan is feasible, and how the treatment of your claim or
           equity interest under the Plan compares to what you would receive on your claim or
           equity interest in liquidation, and
  ⚫        The effect of confirmation of the Plan.

         Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
  describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.


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         B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

          The Court has not yet confirmed the Plan described in this Disclosure Statement. This
  section describes the procedures pursuant to which the Plan will or will not be confirmed.

                 1.      Time and Place of the Hearing to Finally Approve This Disclosure
                         Statement and Confirm the Plan

         The hearing at which the Court will determine whether to finally approve this Disclosure
  Statement and confirm the Plan will take place on _________________, at ___________, in
  Courtroom No. 1, at the Hipolito F. Garcia Federal Building and United States Courthouse, 615
  E. Houston St., 3rd Floor, San Antonio, Texas 78205.

                 2.      Deadline For Voting to Accept or Reject the Plan

          If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and
  return the ballot in the enclosed envelope to:

  Villa & White, L.L.P.
  Attorneys at Law
  1100 NW Loop 410 #802
  San Antonio, Texas 78213

   See section IV.A. below for a discussion of voting eligibility requirements.

         Your ballot must be received by _____________ or it will not be counted.

                 3. Deadline For Objecting to the Adequacy of Disclosure and Confirmation of
                    the Plan

         Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
  with the Court and served upon Counsel for Debtor by _______________________:

  Villa & White, L.L.P.
  Morris E. "Trey" White III
  1100 NW Loop 410 #802
  San Antonio, Texas 78213


                 4.      Identity of Person to Contact for More Information

         If you want additional information about the Plan, you should contact:

  Morris E. "Trey" White III
  Villa & White, L.L.P.

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  1100 NW Loop 410 #802
  San Antonio, Texas 78213
  210-225-4500.

         C.      Disclaimer

          The Court has approved this Disclosure Statement as containing adequate information
  to enable parties affected by the Plan to make an informed judgment about its terms. The
  Court has not yet determined whether the Plan meets the legal requirements for confirmation,
  and the fact that the Court has approved this Disclosure Statement does not constitute an
  endorsement of the Plan by the Court, or a recommendation that it be accepted. The Court's
  approval of this Disclosure Statement is subject to final approval at the hearing on
  confirmation of the Plan. Objections to the adequacy of this Disclosure Statement may be
  filed until _________________.

  II.    BACKGROUND

         A.      Description and History of the Debtor's Business

         The Debtor is a non-public limited liability company. Since 2018, the Debtor has been in
  the business of a real estate holding company. Debtor has acquired a parcel of commercial real
  property: Lot 39 Block 9 NCB 8340 FUCD Subdivision, San Antonio, Bexar County, Texas
  generally known as 100 St. Cloud, San Antonio, Texas herein referred to as the “Real Property”.

         B.      Insiders of the Debtor

  Insider Name:                                   Relationship to the Debtor:
  Mark Granados                                   Manager
  Compensation paid by the Debtor or its affiliates to this insider during the two years prior to the
  commencement of the Debtor's bankruptcy case:
  No compensation has been paid to Mr. Granados.
  Compensation paid during the pendency of this chapter 11 case:
  None.

         C.      Management of the Debtor Before and During the Bankruptcy

          During the two years prior to the date on which the bankruptcy petition was filed, the
  officers, directors, managers or other persons in control of the Debtor (collectively the
  "Managers") were:

                 Mark Granados

         The Managers of the Debtor during the Debtor's chapter 11 case have been:

                 Mark Granados
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         After the effective date of the order confirming the Plan, the directors, officers, and
  voting trustees of the Debtor, any affiliate of the Debtor participating in a joint Plan with the
  Debtor, or successor of the Debtor under the Plan (collectively the "Post Confirmation
  Managers"), will be: Mark Granados.


  The responsibilities and compensation of these Post Confirmation Managers are described in
  section D of this Disclosure Statement.

         D.      Events Leading to Chapter 11 Filing

         Debtor is in the process of developing the Real Property. Without positive cash flow,
  Debtor was unable to make the mortgage payment and the secured creditor initiated foreclosure
  proceedings. Debtor believes there is significant equity in the Real Property and filed this
  chapter 11 case to prevent the loss of that equity.

         E.      Significant Events During the Bankruptcy Case

         Debtor has engaged a real estate broker to sell the Real Property.

         F.      Projected Recovery of Avoidable Transfers


         The Debtor has not yet completed its investigation with regard to prepetition transactions.
  If you received a payment or other transfer within 90 days of the bankruptcy, or other transfer
  avoidable under the Code, the Debtor may seek to avoid such transfer.

         G.      Claims Objections

          Except to the extent that a claim is already allowed pursuant to a final non-appealable
  order, the Debtor reserves the right to object to claims. Therefore, even if your claim is allowed
  for voting purposes, you may not be entitled to a distribution if an objection to your claim is later
  upheld. The procedures for resolving disputed claims are set forth in Article V of the Plan.

         H.      Current and Historical Financial Conditions

          Debtor believes the Real Property has a value of $ 3,324,123.00. The source of this value
  is based on recent comparable sales of similar commercial real property. As the total of all
  claims asserted against the Real Property do not exceed $3,000,000.00, Debtor believes the sale
  or liquidation of the Real Property will generate sale proceeds sufficient to pay all claims and
  administrative expenses leaving funds available for Debtor’s equity holders.




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  III. SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
  CLAIMS AND EQUITY INTERESTS

         A.      What is the Purpose of the Plan of Reorganization?

          The Plan provides that Debtor shall have ninety (90) days from October 1, 2022 to sell
  the Real Property for an amount sufficient to pay the secured and priority claims asserted against
  the Debtor. As required by the Code, the Plan places claims and equity interests in various
  classes and describes the treatment each class will receive. The Plan also states whether each
  class of claims or equity interests is impaired or unimpaired. If the Plan is confirmed, your
  recovery will be limited to the amount provided by the Plan.

         B.      Unclassified Claims

         Certain types of claims are automatically entitled to specific treatment under the Code.
  They are not considered impaired, and holders of such claims do not vote on the Plan. They
  may, however, object if, in their view, their treatment under the Plan does not comply with that
  required by the Code. As such, the Plan Proponent has not placed the following claims in any
  class:

                 1.     Administrative Expenses

         Administrative expenses are costs or expenses of administering the Debtor's chapter 11
  case which are allowed under § 507(a)(2) of the Code. Administrative expenses also include the
  value of any goods sold to the Debtor in the ordinary course of business and received within 20
  days before the date of the bankruptcy petition. The Code requires all administrative expenses
  be paid on the effective date of the Plan, unless a particular claimant agrees to a different
  treatment.

         The following chart lists the Debtor's estimated administrative expenses, and their
  proposed treatment under the Plan:


  Type                                  Estimated   Proposed Treatment
                                        Amount Owed
  Professional fees, as approved by the $15,000.00  Paid in full on the effective date of the
  Court                                             Plan, or according to separate written
                                                    agreement, or according to court order
                                                    if such fees have not been approved by
                                                    the Court on the effective date of the
                                                    Plan which may include payment from
                                                    proceeds of the sale of the Real
                                                    Property.
  TOTAL                                 $15,000.00


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                 2.     Priority Tax Claims

         Priority tax claims are unsecured income, employment, and other taxes described by
  § 507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) priority tax claim agrees
  otherwise, it must receive the present value of such claim, in regular installments paid over a
  period not exceeding 5 years from the order of relief.

         The following chart lists the Debtor's estimated § 507(a)(8) priority tax claims and their
  proposed treatment under the Plan:

  Description                      Estimated     Date       of Treatment
  (name and type of tax)           Amount        Assessment
                                   Owed
  None

         C.      Classes of Claims and Equity Interests

          The following are the classes set forth in the Plan, and the proposed treatment that they
  will receive under the Plan:

                 1.     Classes of Secured Claims

          Allowed Secured Claims are claims secured by property of the Debtor's bankruptcy estate
  (or that are subject to setoff) to the extent allowed as secured claims under § 506 of the Code. If
  the value of the collateral or setoffs securing the creditor's claim is less than the amount of the
  creditor's allowed claim, the deficiency will [be classified as a general unsecured claim].

          The following chart lists all classes containing Debtor's secured prepetition claims and
  their proposed treatment under the Plan:

  Class                            Impairment                       Treatment
  Class 1 - Secured claims against Impaired                         At the closing of the refinance loan or
  the Real Property                                                 the sale of the Real Property, the Class 1
                                                                    claim shall be paid in full with interest
                                                                    accruing from the Petition Date at a rate
                                                                    of 5% per annum.
  Class 2 - Secured claim of Impaired                               At the closing of the refinance loan or
  Bexar County                                                      the sale of the Real Property Asset, the
                                                                    Class 2 claim shall be paid in full with
                                                                    interest accruing from the Petition Date
                                                                    at a rate of 12% per annum.
  Class 3 -Unsecured claims        Impaired                         At the closing of the refinance loan or
                                                                    the sale of the Real Property Asset, the
                                                                    Class 3 claim shall be paid in full

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                 2.     Classes of Priority Unsecured Claims

         Certain priority claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the
  Code are required to be placed in classes. The Code requires that each holder of such a claim
  receive cash on the effective date of the Plan equal to the allowed amount of such claim.
  However, a class of holders of such claims may vote to accept a different treatment.

          The following chart lists all classes containing claims under §§ 507(a)(1), (4), (5), (6),
  and (a)(7) of the Code and their proposed treatment under the Plan:

  Class #     Description                         Impairment Treatment
  None
                 3.     Class[es] of General Unsecured Claims

         Debtor does not have any General Unsecured Claims

  Class #     Description                         Impairment Treatment


         D.      Means of Implementing the Plan

                 1.     Source of Payments

         Payments and distributions under the Plan will be funded by the following:

         From the closing of the refinance loan or sale of the Real Property.

                 2.     Post-confirmation Management

         The Post-Confirmation Managers of the Debtor, and their compensation, shall be as
  follows:

  Name                      Affiliations            Insider Position       Compensation
                                                    (yes or
                                                    no)?
  Mark Granados             Member                  Yes     Manager/Member None

         E.      Risk Factors

         The proposed Plan has the following risks:

           The commercial real estate market for the San Antonio, Texas area could result in a delay
  in selling the Real Property.

         F.      Executory Contracts and Unexpired Leases
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          The Plan, in Exhibit 5.1, lists all executory contracts and unexpired leases that the Debtor
  will assume under the Plan, if any. Assumption means that the Debtor has elected to continue to
  perform the obligations under such contracts and unexpired leases, and to cure defaults of the
  type that must be cured under the Code, if any. Exhibit 5.1 also lists how the Debtor will cure
  and compensate the other party to such contract or lease for any such defaults.

          If you object to the assumption of your unexpired lease or executory contract, the
  proposed cure of any defaults, or the adequacy of assurance of performance, you must file and
  serve your objection to the Plan within the deadline for objecting to the confirmation of the Plan,
  unless the Court has set an earlier time.

          All executory contracts and unexpired leases that are not listed in Exhibit 5.1 will be
  rejected under the Plan. Consult your advisor or attorney for more specific information about
  particular contracts or leases.

          If you object to the rejection of your contract or lease, you must file and serve your
  objection to the Plan within the deadline for objecting to the confirmation of the Plan.


         G.      Tax Consequences of Plan

        Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
  Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

  The following are the anticipated tax consequences of the Plan: The sale of the Real Property
  Asset could generate a capital gain for the Debtor resulting in a tax liability.

  IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

          To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
  Code. These include the requirements that: the Plan must be proposed in good faith; at least one
  impaired class of claims must accept the plan, without counting votes of insiders; the Plan must
  distribute to each creditor and equity interest holder at least as much as the creditor or equity
  interest holder would receive in a chapter 7 liquidation case, unless the creditor or equity interest
  holder votes to accept the Plan; and the Plan must be feasible. These requirements are not the
  only requirements listed in § 1129, and they are not the only requirements for confirmation.

         A.      Who May Vote or Object

          Any party in interest may object to the confirmation of the Plan if the party believes that
  the requirements for confirmation are not met.

          Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
  creditor or equity interest holder has a right to vote for or against the Plan only if that creditor or

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  equity interest holder has a claim or equity interest that is both (1) allowed or allowed for voting
  purposes and (2) impaired.

         In this case, the Plan Proponent believes that all classes, specifically classes 1 and 2 are
  impaired and that holders of claims in each of these classes are therefore entitled to vote to
  accept or reject the Plan.

                 1.      What Is an Allowed Claim or an Allowed Equity Interest?

          Only a creditor or equity interest holder with an allowed claim or an allowed equity
  interest has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either
  (1) the Debtor has scheduled the claim on the Debtor's schedules, unless the claim has been
  scheduled as disputed, contingent or unliquidated, or (2) the creditor has filed a proof of claim or
  equity interest, unless an objection has been filed to such proof of claim or equity interest. When
  a claim or equity interest is not allowed, the creditor or equity interest holder holding the claim
  or equity interest cannot vote unless the Court, after notice and hearing, either overrules the
  objection or allows the claim or equity interest for voting purposes pursuant to Rule 3018(a) of
  the Federal Rules of Bankruptcy Procedure.

          The deadline for filing a proof of claim in this case is 9/28/2022.


                 2.      What Is an Impaired Claim or Impaired Equity Interest?

          As noted above, the holder of an allowed claim or equity interest has the right to vote
  only if it is in a class that is impaired under the Plan. As provided in § 1124 of the Code, a class
  is considered impaired if the Plan alters the legal, equitable, or contractual rights of the members
  of that class.

                 3.      Who is Not Entitled to Vote

          The holders of the following five types of claims and equity interests are not entitled to
  vote:

             ⚫ holders of claims and equity interests that have been disallowed by an order of the
               Court;

             ⚫ holders of other claims or equity interests that are not "allowed claims" or
               "allowed equity interests" (as discussed above), unless they have been "allowed"
               for voting purposes.

             ⚫ holders of claims or equity interests in unimpaired classes;

             ⚫ holders of claims entitled to priority pursuant to §§ 507(a)(2), (a)(3), and (a)(8) of
               the Code; and

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               ⚫ holders of claims or equity interest in classes that do not receive or retain any
                 value under the Plan;

               ⚫ administrative expenses.

   Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
   Confirmation of the Plan and to the Adequacy of the Disclosure Statement.

                  4.      Who Can Vote in More Than One Class

           A creditor whose claim has been allowed in part as a secured claim and in part as an
   unsecured claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a
   Plan in each capacity, and should cast one ballot for each claim.

          B.      Votes Necessary to Confirm the Plan

           If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one
   impaired class of creditors has accepted the Plan without counting the votes of any insiders
   within that class, and (2) all impaired classes have voted to accept the Plan, unless the Plan is
   eligible to be confirmed by "cram down" on non-accepting classes, as discussed later in Section
   [B.2].

                  1.      Votes Necessary for a Class to Accept the Plan

           A class of claims accepts the Plan if both of the following occur: (1) the holders of more
   than one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the
   Plan, and (2) the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the
   class, who vote, cast their votes to accept the Plan.

         A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in
   amount of the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

                  2.      Treatment of Nonaccepting Classes

           Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm
   the Plan if the nonaccepting classes are treated in the manner prescribed by § 1129(b) of the
   Code. A plan that binds nonaccepting classes is commonly referred to as a "cram down" plan.
   The Code allows the Plan to bind nonaccepting classes of claims or equity interests if it meets all
   the requirements for consensual confirmation except the voting requirements of § 1129(a)(8) of
   the Code, does not "discriminate unfairly," and is "fair and equitable" toward each impaired class
   that has not voted to accept the Plan.

   You should consult your own attorney if a "cramdown" confirmation will affect your claim or
   equity interest, as the variations on this general rule are numerous and complex.

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          C.      Liquidation Analysis

           To confirm the Plan, the Court must find that all creditors and equity interest holders who
   do not accept the Plan will receive at least as much under the Plan as such claim and equity
   interest holders would receive in a chapter 7 liquidation. The Plan as proposed will pay all
   creditors the full amount of their respective claim.

          D.      Feasibility

           The Court must find that confirmation of the Plan is not likely to be followed by the
   liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
   Debtor, unless such liquidation or reorganization is proposed in the Plan.

                  1.      Ability to Initially Fund Plan

           The Plan Proponent believes that the Debtor will have enough cash on hand upon the
   closing of the refinance loan or upon the closing of the sale to pay all the claims and expenses
   that are entitled to be paid on that date.

                 2.       Ability to Make Future Plan Payments and Operate Without Further
   Reorganization

          The Plan Proponent must also show that it will have enough cash over the life of the Plan
   to make the required Plan payments. These payments include adequate protection payments to
   the Class 1 member as previously ordered by the Court. Debtor believes the rental income from
   the Real Property will be sufficient to pay these payments while the sale of the Real Property is
   pending.


         You Should Consult with Your Accountant or other Financial Advisor If You Have
   Any Questions Pertaining to These Projections.

   V.     EFFECT OF CONFIRMATION OF PLAN

          A.      DISCHARGE OF DEBTOR

           Discharge. On the effective date of the Plan, the Debtor shall be discharged from any
   debt that arose before confirmation of the Plan, subject to the occurrence of the effective date, to
   the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor shall not be
   discharged of any debt (i) imposed by the Plan, (ii) of a kind specified in § 1141(d)(6)(A) if a
   timely complaint was filed in accordance with Rule 4007(c) of the Federal Rules of Bankruptcy
   Procedure, or (iii) of a kind specified in § 1141(d)(6)(B). After the effective date of the Plan
   your claims against the Debtor will be limited to the debts described in clauses (i) through (iii) of
   the preceding sentence.

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          B.     Modification of Plan

        The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
   However, the Court may require a new disclosure statement and/or re-voting on the Plan.

            The Plan Proponent may also seek to modify the Plan at any time after confirmation only
   if (1) the Plan has not been substantially consummated and (2) the Court authorizes the proposed
   modifications after notice and a hearing.

          C.     Final Decree

          Once the estate has been fully administered, as provided in Rule 3022 of the Federal
   Rules of Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall
   designate in the Plan Confirmation Order, shall file a motion with the Court to obtain a final
   decree to close the case. Alternatively, the Court may enter such a final decree on its own
   motion.

   VI.    OTHER PLAN PROVISIONS: None

          Dated: September 6, 2022
                                               VILLA & WHITE LLP

                                               By: /s/ Morris E. “Trey” White III
                                               Morris E. “Trey” White III
                                               Texas State Bar No. 24003162
                                               1100 NW Loop 410 #802
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